Case 5:17-cr-00239-PA Document 35-1 Filed 07/10/18 Page1of2 Page ID #:142

 

 

 

 

 

 

 

 

SUPPLEMENT C1 CASE NO.
SHERIFF'S DEPARTMENT
COUNTY OF SAN BERNARDINO 661700282
CALIFORNIA REPORT AREA
CA 03600
R19
CODE SECTION CRIME CLASSIFICATION
PC29800(a)(1) FIREARM POSS-FIREARM
VICTIM'S NAME - LAST NAME FIRST NAME MIDDLE NAME (FIRM NAME IF BUSINESS) TYPEP
ISTATE_OF CALIFORNIA
ADDRESS RESIDENCE PHONE

 

 

ASSIGNMENT:

On 09-14-2017, | was assigned to the San Bernardino County Regional Gang Integellance Team (GIT). | was driving an
unmarked Sheriff's vehicle equipped with emergency lights and siren, and was wearing a green raid vest with department
patches identifying me as a law enforcement officer.

OBSERVATIONS:

At approximately 1458 hours, | was traveling west on Foothill Blvd in the city of Fontana. | was in the number two lane
approaching Maple Avenue. | observed a black Porsche Cayenne, California license plate # 7ECD685, to my left in the
number one lane. | noticed the Porsche's front windows were tinted and | was unable to see the occupants inside. Having
tinted windows is a violation of VC 26708(a)(1).

ENFORCEMENT TRAFFIC STOP:

| slowed down and merged into the number one lane to conduct a traffic stop on the Porsche. | activated my overhead

emergency lights. The vehicle continued driving forward and merged into the number two lane and stopped along the curb just
west of Locust Ave.

SUBJECT CONTACT:

| walked to the driver’s side of the Porsche and made contact with the driver who was later identified as Melvin Edwards, DOB
07-31-1978. | informed Edwards the reason | stopped him was for having tinted windows. | asked him for his driver's license
and the vehicle information to the car. While speaking to Edwards, he appeared extremely nervous. His hands were shaking
and he kept moving them up and down. Edwards handed me a identification card and a registration paper to a Mercedes. |
informed him he was driving a Porsche and not a Mercedes. Edwards looked in the arm rest of the vehicle and handed me the
registration. | asked Edwards if he had a driver's license. He informed me he was working on trying to get one becasue he
had DUI's.

 

he handed me his card California identification card.
RECORDS CHECK:

| walked back to my patrol vehicle and conducted a records check on Edwards and Hatchett via my on-board computer. The
records check revealed Edwards had a suspended driver’s license for multiple vehicle code violations.

The records check also revealed Hatchett was on county probation.

While conducting the records check, Office R. Bonshire from San Bernardino Police Department (GIT) assisted with the traffic
stop. | informed Bonshire Edwards had a suspended license and Hatchett was on probation.

SUBJECT RE-CONTACT:

| exited my patrol vehicle and walked back to the Porsche. | asked Edwards to exit the vehicle and he complied. Once out of

the vehicle, | conducted a pat-down search on his person and walked him to curb. There | instructed him to sit down and to
cross his feet. Edwards complied.

Officer Bonshire had Hatchett do the same.

 

 

 

 

 

 

 

 

VEHICLE SEARCH:
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[Deputy M. Hubbard 09/15/2017 i tinez 09/27/2017
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VICTIM'S NAME - LAST NAME FIRST NAME MIDDLE NAME (FIRM NAME IF BUSINESS) TYPEP
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| informed Edwards his license was suspended and if | could search the vehicle. Edwards gave me verbal permission to
search the vehicle. Prior to searching, | asked Edwards if there was anything illegal inside. Edwards told me no. During this
conversation, this incident was not recorded.

| searched the driver’s side of the vehcile and Officer Bonshire conducted the search of the passenger side. During the search,
| saw Office Bonshire open the glove compartment with the key to the vehicle. Once the glove compartment was opened, |
saw a black semi-auto handgun in plain view inside the compartment.

SUSPECT ARREST / SPONTANEOUS STATEMENT:

| walked to Edwards and Officer Bonshire walked to Hatchett. | placed handcuffs on Edwards (doubled locked) to the rear.
While placing the handcuffs on Edwards, he spontaneously said without questions, “The gun is mine, he has nothing to do
it.” This statment was not recorded.

| then walked Edwards to the rear of my patrol vehicle without incident.

During the investigation, Edwards wanted the vehicle released to his mother as she is the registered owner. Edwards
spontaneously said he fucked up becasue he had the gun. He continued to say he had the gun for his protection because he
is a business owner and a young black man.

EVIDENCE:

See Office Bonshire supplemental report.

TRANSPORTATION:

| transported Edwards to West Valley Detention Center (WVDC) for booking and processing.
SUSPECT INTERVIEW:

At approximately 1540 hours, | interviewed Edwards in the parking lot of WDC. | read him his Miranda rights from my
department issued card. Edwards answered yes to question number qian der stood his rights. He answered no
to question number two indicating he was not willing to speak to me. This conversation was recordered.

This concluded my interview with Edwards.

BOOKING:

Edwards was booked into WVDC for PC 29800(a)(1). He was given booking # 1709341703.
VEHICLE DISPOSITION:

Per Edward request, the Porsche was released to his mother and registered owner Chalam Sweet.
DISPOSITION:

Case cleared by arrest. Forward to District Attorney.

 

 

 

 

 

 

 

 

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